     Case 4:21-cr-06028-MKD      ECF No. 117    filed 02/16/22   PageID.788 Page 1 of 17




 1
                                                                              FILED IN THE
                                                                          U.S. DISTRICT COURT
 2                                                                  EASTERN DISTRICT OF WASHINGTON




 3                                                                   Feb 16, 2022
                                                                         SEAN F. MCAVOY, CLERK


 4

 5                         UNITED STATES DISTRICT COURT

 6                      EASTERN DISTRICT OF WASHINGTON

 7   UNITED STATES OF AMERICA,                       No. 4:21-CR-6028-MKD

 8                       Plaintiff,                  PRETRIAL ORDER AND ORDER
                                                     GRANTING MOTION TO
 9   vs.                                             CONTINUE

10   JOSE MENDOZA-RUELAS (1),                        ECF Nos. 103, 104, 106
     OSCAR CHAVEZ-GARCIA (2),
11   and JOEL CHAVEZ-DURAN (3),

12                       Defendants.

13         On February 14, 2022, the Court conducted an individual pretrial hearing

14   with each Defendant in this case. The individual hearings were necessitated by the

15   limited video-conference capabilities at the jails in which Defendants are currently

16   detained.

17         With his consent, Jose Mendoza-Ruelas appeared in custody from the

18   Yakima County jail and was represented by Assistant Federal Defenders Nick Mirr

19   and Ben Hernandez and assisted by federal-court certified interpreter Natalia

20   Rivera. With his consent, Oscar Chavez-Garcia appeared in custody from the



     ORDER - 1
     Case 4:21-cr-06028-MKD      ECF No. 117     filed 02/16/22   PageID.789 Page 2 of 17




 1   Spokane County jail and was represented Roger Peven. With his consent, Joel

 2   Chavez-Duran appeared in custody from the Spokane County Jail and was

 3   represented by Adam R. Pechtel and assisted by federal-court certified interpreter

 4   Natalia Rivera. Assistant United States Attorney Stephanie A. Van Marter

 5   appeared on behalf of the United States at each hearing.

 6         Before the Court are Defendants Chavez-Duran and Chavez-Garcia’s

 7   Motions to Continue Trial, ECF Nos. 103 and 106, and Defendant Mendoza-

 8   Ruelas’ Motion to Join in the Motion to Continue. ECF No. 104. Defendants state

 9   a continuance in this matter is necessary to review discovery, investigate the

10   United States’ allegations, and prepare a competent defense. The United States

11   does not object to a continuance in this matter. The Court has reviewed the file,

12   has heard from counsel, and is fully informed. This Order memorializes the

13   Court’s oral rulings.

14         The Court finds that, taking into account the exercise of due diligence, a trial

15   date of March 14, 2022, would deprive defense counsel of adequate time to obtain

16   and review discovery and conduct effective preparation. 18 U.S.C. §

17   3161(h)(7)(B)(iv). Therefore, the Court finds that the ends of justice are served by

18   a continuance in this matter, and further that the ends of justice served by a

19   continuance outweigh the best interests of the public and Defendants’ right to a

20   speedy trial. 18 U.S.C. § 3161(h)(7)(A).



     ORDER - 2
     Case 4:21-cr-06028-MKD       ECF No. 117   filed 02/16/22   PageID.790 Page 3 of 17




 1         Accordingly, IT IS HEREBY ORDERED:

 2         1.     Defendant Mendoza-Ruelas’ Motion to Join the Motion to Continue

 3   Trial, ECF No. 104, is GRANTED.

 4         2.     Defendant Chavez-Duran’s Motion to Continue Trial, joined by

 5   Defendant Mendoza-Ruelas, ECF No. 103, is GRANTED.

 6         3.     Defendant Chavez-Garcia’s Motion to Continue Trial, ECF No. 106,

 7   is GRANTED.

 8         4.     The current trial date of March 14, 2022 is STRICKEN and RESET

 9   to May 23, 2022, at 9:00 a.m., commencing with a final pretrial conference at

10   8:30 a.m. Trial shall take place in Richland, Washington.

11         5.     A pretrial conference is set for May 5, 2022, at 1:30 p.m. in

12   Richland, Washington.

13         6.     Counsel for defense shall notify Defendants of all hearings and ensure

14   their attendance at court.

15         7.     Local Criminal Rules. Counsel shall comply with the Eastern

16         District of Washington Local Criminal Rules of Procedure (LCrR), except

17         where specifically modified below or by subsequent Order.

18         8.     Emailing the Court. Where this Order requires counsel to email

19         documents to the Court, all documents shall be attached to the email in

20



     ORDER - 3
     Case 4:21-cr-06028-MKD     ECF No. 117   filed 02/16/22   PageID.791 Page 4 of 17




 1        Microsoft Word (.doc/.docx) or rich-text (.rtf) format. The subject line of

 2        each email shall be formatted as follows:

 3                     [Case No.]; [Case Name]; [Title of Document]

 4                     (e.g.: 13-cr-9999-MKD; USA v. Doe; Trial Brief)

 5        9.     Discovery

 6               A.    All discovery documents must be Bates-stamped with a unique

 7                     identifier and must be produced digitally in a text-searchable

 8                     format. The Court will grant relief from this requirement only

 9                     in exceptional circumstances, upon motion and good cause

10                     shown.

11               B.    Production of discovery shall be governed by Local Criminal

12                     Rule 16. See LCrR 16.

13               C.    The Court presumes a request for discovery and disclosure

14                     under Federal Rules of Evidence 404(b), 608(b), and 609,

15                     Brady v. Maryland, 373 U.S. 83 (1963), Giglio v. United States,

16                     405 U.S. 150 (1972), United States v. Henthorn, 931 F.2d 29

17                     (9th Cir. 1991), and their progeny, and as such these items are

18                     ordered disclosed by the deadline set forth in Local Criminal

19                     Rule 16.

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     ORDER - 4
     Case 4:21-cr-06028-MKD        ECF No. 117    filed 02/16/22   PageID.792 Page 5 of 17




 1                  D.    At arraignment or within 14 days thereafter, the United States is

 2                        required to disclose evidence relating to Defendant’s guilt or

 3                        punishment that might reasonably be considered favorable to

 4                        the Defendant. See LCrR 16(a)(6); see also Brady, 373 U.S.

 5                        83; United States v. Agurs, 427 U.S. 97 (1976); Fed. R. Crim.

 6                        P. 5(f).1 This is a continuing duty for newly discovered

 7                        evidence. LCrR 16(c); see also ECF Nos. 12, 15.

 8                  E.    Pursuant to Federal Rule of Criminal Procedure 16(d)(2),

 9                        failure to comply may result in an order permitting the

10                        discovery or inspection; granting a continuance; or any other

11                        order that is just under the circumstances (including contempt,

12                        sanctions, referral to a disciplinary authority, dismissal of

13                        charges, exclusion of evidence or witnesses, and adverse jury

14                        instructions).

15

16

17

18   1
         Nothing in this requirement enlarges or diminishes the United States’ obligation

19   to disclose information and evidence to the Defendant under Brady and its

20   progeny.



     ORDER - 5
     Case 4:21-cr-06028-MKD     ECF No. 117    filed 02/16/22   PageID.793 Page 6 of 17




 1        10.    Expert-Witness Summaries

 2               A.    When each party produces to opposing counsel summaries of

 3                     its expert-witness testimony for which disclosure is required

 4                     under Federal Rule of Criminal Procedure 16 and Local

 5                     Criminal Rule 16, counsel shall also email an electronic copy of

 6                     the summary to the Court at DimkeOrders@waed.uscourts.gov.

 7               B.    All summaries of expert witness testimony must conform to

 8                     Federal Rule of Criminal Procedure 16, Local Criminal Rule

 9                     16, and applicable case law interpreting those Rules. The Court

10                     will not permit an expert witness to testify about opinions

11                     which are not explicitly expressed in that expert’s summary.

12                     See, e.g., United States v. W.R. Grace, 526 F.3d 499 (9th Cir.

13                     2008).

14        11.    CM/ECF Technical Assistance. Parties requiring technical

15               assistance concerning the CM/ECF system, such as the procedures for

16               filing non-scannable exhibits, shall consult the District’s “Electronic

17               How To” page (https://www.waed.uscourts.gov/electronic-how) or

18               contact the CM/ECF Help Desk by phone at (866) 236-5100 or (509)

19               458-3410 or by email at ecfinfo@waed.uscourts.gov. Inquiries

20



     ORDER - 6
     Case 4:21-cr-06028-MKD    ECF No. 117     filed 02/16/22   PageID.794 Page 7 of 17




 1               requesting technical assistance concerning the CM/ECF system shall

 2               not be directed to the Judge’s chambers.

 3        12.    Motions Practice

 4               A.    Generally. All motions shall either be: a) noted for hearing

 5                     without oral argument fourteen (14) days after filing, or b)

 6                     noted for hearing with oral argument at the pretrial conference

 7                     pursuant to Local Criminal Rule 12(c). Responses and replies

 8                     to motions must be filed in accordance with Local Criminal

 9                     Rule 45 and 47, which incorporate the requirements of Local

10                     Rule 7.1.

11               B.    Expedited Hearing. Any party seeking an expedited hearing

12                     on a time-sensitive matter must comply with Local Criminal

13                     Rule 12(c)(3).

14               C.    If a case has more than one defendant, the Court will construe

15                     any motion, including motions to continue, as applying to all

16                     defendants, unless that defendant indicates they do not wish to

17                     be joined in the motion. Defendants thus do not need to file

18                     motions to join. Any Defendant wishing to opt-out of a

19                     motion shall file a notice so stating within seven days of the

20                     filing of the motion.



     ORDER - 7
     Case 4:21-cr-06028-MKD    ECF No. 117     filed 02/16/22   PageID.795 Page 8 of 17




 1               D.    Sealed Documents. Any and all sealed documents shall be

 2                     filed by the parties under the sealed event as a sealed document.

 3                     The parties are not required to file a separate motion to seal a

 4                     document. The parties shall file any objections to a sealed

 5                     document by no later than five days after the filing of the sealed

 6                     document. The Court will thereafter review the sealed

 7                     document and any objections filed to determine whether the

 8                     document should be unsealed. Any party filing a sealed

 9                     document shall email dimkeorders@waed.uscourts.gov to

10                     inform the Court of the filing. The email shall note the ECF

11                     number of the sealed document and the general nature of the

12                     document.

13        13.    Witness Testimony. At any hearing, including trial, in which witness

14               testimony is given, the witness must testify in Court. Absent

15               exceptional circumstances, a testifying witness may not appear by

16               telephone or video conference.

17        14.    Trial Continuances

18               A.    Motion Deadline. All motions to continue the trial must be

19                     heard before or at the pretrial conference. Any motion to

20                     continue trial made after the pretrial conference has



     ORDER - 8
     Case 4:21-cr-06028-MKD         ECF No. 117     filed 02/16/22   PageID.796 Page 9 of 17




 1                         occurred will not be granted absent exceptional

 2                         circumstances.

 3                 B.      Statement of Reasons. If the Defendant seeks a continuance, a

 4                         Speedy Trial Waiver and Statement of Reasons in support of

 5                         the motion to continue must be filed contemporaneously with

 6                         the motion.2 The Statement of Reasons must 1) be signed by

 7                         the Defendant, 2) be signed by a certified translator, if

 8                         applicable, and 3) indicate the latest date upon which Defendant

 9                         is willing to proceed to trial.

10                 C.      Procedure. Before filing a motion to continue, counsel shall

11                         first contact the Courtroom Deputy at (509) 458-5252 to obtain

12                         new pretrial conference and trial dates consistent with the

13                         length of the requested trial continuance. Thereafter, counsel

14                         shall confer with opposing counsel regarding case management

15

16
     2
         The Court’s Speedy Trial Waiver and Statement of Reasons form can be found at
17
     the following link:
18
     https://www.waed.uscourts.gov/sites/default/files/forms/Speedy%20Trial%20Waiv
19
     er%20MKD.docx
20



     ORDER - 9
     Case 4:21-cr-06028-MKD      ECF No. 117    filed 02/16/22   PageID.797 Page 10 of 17




 1                        deadlines3 consistent with the new pretrial conference and trial

 2                        date. All motions to continue must include proposed case

 3                        management deadlines (either joint or individual) to ensure

 4                        the to-be-imposed deadlines are best suited to this case.

 5           15.   Pretrial Conference

 6                 A.     The Pretrial Conference is SET for May 5, 2022, at 1:30 PM

 7                        in RICHLAND. At this hearing, the Court will hear ALL

 8                        pretrial motions that are noted for oral argument.

 9                 B.     All pretrial conferences are scheduled to last no more than

10                        thirty (30) minutes, with each side allotted fifteen (15)

11                        minutes to present their own motions and resist motions by

12                        opposing counsel. If any party anticipates requiring longer than

13                        fifteen minutes, that party must notify the Courtroom Deputy at

14                        least seven (7) days prior to the hearing. Any party who fails

15                        to provide this notice will be limited to fifteen (15) minutes.

16
     3
         A form with the Court’s standard case management deadlines can be found at the
17
     following link:
18
     https://www.waed.uscourts.gov/sites/default/files/forms/Proposed%20Case%20Ma
19
     nagement%20Deadlines%20Form%20-%20MKD.pdf
20



     ORDER - 10
     Case 4:21-cr-06028-MKD     ECF No. 117   filed 02/16/22   PageID.798 Page 11 of 17




 1              C.    If a motion is to be heard with oral argument, and a party plans

 2                    to call witnesses or present exhibits, that party must file an

 3                    exhibit and/or witness list by no later than 72 hours before the

 4                    hearing on the motion.

 5              D.    If a party intends to use a laptop, thumb drive, or DVD or CD

 6                    for presentation of documents, or audio or video recordings,

 7                    that party must contact the Courtroom Deputy at least one week

 8                    prior to the hearing and confirm the compatibility of the

 9                    technology and equipment.

10              E.    If a party intends to use a demonstrative exhibit, such as a

11                    PowerPoint presentation, it must be submitted to the Court and

12                    all opposing parties at least 24 hours prior to its intended use.

13        16.   Exhibit Lists

14              A.    On May 17, 2022, after conferring with counsel at the pretrial

15                    conference each party shall file a list of exhibits the party

16                    intends to introduce at trial. Each party shall also email copies

17                    of their exhibit list to the Court at

18                    DimkeOrders@waed.uscourts.gov.

19

20



     ORDER - 11
     Case 4:21-cr-06028-MKD     ECF No. 117   filed 02/16/22   PageID.799 Page 12 of 17




 1              The parties shall provide their exhibit list in the following format:

 2                      Ex. #    Admitted Description
                        1                 Photograph of items seized
 3                      2                 Aerial video surveillance from 1/1/2011.
                                          Start Time: 01:03:23
 4                                        End Time: 01:09:54

 5
                      Exhibit lists shall include a unique exhibit number and a brief
 6
                      description of the exhibit. For all exhibits consisting of an
 7
                      audio or video file, the exhibit list must designate the precise
 8
                      beginning and ending time indexes of the portion of the file the
 9
                      party intends to use at trial.
10
                B.    The United States shall consecutively number their exhibits
11
                      from 1 to 999. In single-defendant cases, Defendant shall
12
                      consecutively number exhibits from 1000 to 1999; in multi-
13
                      defendant cases, Defendants shall consecutively number
14
                      exhibits from x000 to x999, substituting “x” for each
15
                      Defendant’s assigned case identifier (e.g. Defendant 3 would
16
                      number exhibits from 3000 to 3999, etc.). Exhibits shall be
17
                      pre-marked for identification before trial commences.
18
          17.   Witness Lists. On May 17, 2022, after conferring with counsel at the
19
                pretrial conference, each party shall file and serve a list of witnesses
20
                that party intends to call to testify at trial. The witness list must


     ORDER - 12
     Case 4:21-cr-06028-MKD    ECF No. 117     filed 02/16/22   PageID.800 Page 13 of 17




 1              identify the existence, but need not include the name, of any

 2              confidential information (CI) the USAO intends to call to testify.

 3              Parties shall email copies of their witness list to the Court at

 4              DimkeOrders@waed.uscourts.gov.

 5        18.   Trial Briefs, Proposed Jury Instructions and Verdict Form, and

 6              Requested Voir Dire. On May 13, 2022, after conferring with

 7              counsel at the pretrial conference, each party shall file a trial brief,

 8              proposed jury instructions and verdict form, and requested voir dire,

 9              in accordance with the requirements below. Each party shall email

10              copies to the Court at DimkeOrders@waed.uscourts.gov.

11              A.    Trial Briefs. Trial briefs shall not exceed twenty (20) pages

12                    without prior Court approval, upon motion and good cause

13                    shown.

14              B.     Proposed Jury Instructions and Verdict Form. Jury

15                    instructions shall 1) address issues that are unique to the case,

16                    and 2) include instructions regarding the elements of each

17                    charge or defense. If a Ninth Circuit Model Jury Instruction

18                    exists for a particular charge or defense, the parties shall

19                    provide the model instruction or shall submit argument as to

20                    why the instruction is inadequate or no longer supported by



     ORDER - 13
     Case 4:21-cr-06028-MKD   ECF No. 117     filed 02/16/22   PageID.801 Page 14 of 17




 1                    law. Proposed jury instructions shall be accompanied by a

 2                    proposed verdict form. The parties must confer to develop

 3                    joint proposed jury instructions and the verdict form. The

 4                    Court will only accept an individual party’s proposed jury

 5                    instructions on those points/issues upon which the parties could

 6                    not agree, and only if the party’s memoranda accompanying the

 7                    individually-proposed instruction(s) sets forth the legal

 8                    authority and justification for why the instruction is necessary.

 9              C.    Requested Voir Dire. The parties may request that the Court

10                    include specific questions during the Court’s standard voir dire.

11                    Requested voir dire shall not duplicate information elicited in

12                    the Clerk’s Office Jury Questionnaire (“COJQ”) and the

13                    Court’s Criminal Jury Trial Procedures Letter.

14        19.   Exhibit Binders. On May 17, 2022, after conferring with counsel at

15              the pretrial conference, each party must provide to all other parties

16              and to the Court a Bates-stamped copy of all trial exhibits — or, in the

17              case of physical exhibits, a photograph or other reproduction of the

18              exhibit — the party intends to introduce at trial. All trial exhibits shall

19              be organized sequentially by exhibit number in a three-ring binder.

20



     ORDER - 14
     Case 4:21-cr-06028-MKD        ECF No. 117    filed 02/16/22   PageID.802 Page 15 of 17




 1           20.    JERS.

 2                  A.    The Court utilizes the Jury Evidence Recording System (JERS),

 3                        a system that makes electronic evidence available in the jury

 4                        room during deliberations. Counsel shall promptly consult

 5                        the Court’s “JERS Instructions for Attorneys”4 to ensure

 6                        they acquire, retain, and provide evidence to the Court in

 7                        the necessary format.

 8                  B.    On May 17, 2022, after conferring with counsel at the pretrial

 9                        conference, each party who intends to introduce evidence at

10                        trial must supply a CD, DVD, or USB drive to the Courtroom

11                        Deputy containing all of that party’s exhibits in the required

12                        format. Counsel may contact the Courtroom Deputy at (509)

13                        458-5252 with any questions.

14           21.    Trial Notices. On May 13, 2022, after conferring with counsel at the

15                  pretrial conference, each party shall file a notice that indicates the

16                  amount of time requested for opening statement and for voir dire. In

17

18   4
         This document can be found on the Court’s public website at the following link:

19   https://www.waed.uscourts.gov/sites/default/files/support/jers basics for lawyers.

20   pdf



     ORDER - 15
     Case 4:21-cr-06028-MKD     ECF No. 117    filed 02/16/22   PageID.803 Page 16 of 17




 1               addition, defense counsel must indicate if his/her client waives

 2               presence at sidebar and jury questions.

 3        22.    Technology Readiness Meeting. On May 17, 2022, any party

 4               seeking to offer video or audio evidence at trial must meet with Court

 5               staff at the location of the trial to verify compatibility with the Court’s

 6               presentation systems. The parties shall contact the Courtroom Deputy

 7               at (509) 458-5252 to arrange this meeting.

 8        23.    Trial. The jury trial is SET for May 23, 2022, at 9:00 AM in

 9               Richland, Washington. The final pretrial conference will

10               commence at 8:30 AM on the first day of trial.

11        24.    Summary of Deadlines

12    All pretrial motions, including discovery
      motions, Daubert motions, and motions in              March 31, 2022
13    limine, filed
      Responses to pretrial motions                         April 14, 2022
14    Replies to pretrial motions                           April 22, 2022
      PRETRIAL CONFERENCE                                   May 5, 2022
15
      Deadline for motions to continue trial                1:30 PM - RICHLAND
16    CIs’ identities and willingness to be interviewed
                                                            May 9, 2022
      disclosed to Defendant (if applicable)
17    Grand jury transcripts produced to Defendant
                     Case Agent:
                                                            May 9, 2022
18                   CIs:
                                                            May 9, 2022
                     Other Witnesses:
19    Exhibit lists filed and emailed to the Court          May 17, 2022
      Witness lists filed and emailed to the Court          May 17, 2022
20    Trial briefs, jury instructions, verdict forms, and
                                                            May 13, 2022
      requested voir dire filed and emailed to the Court


     ORDER - 16
     Case 4:21-cr-06028-MKD     ECF No. 117    filed 02/16/22   PageID.804 Page 17 of 17




 1    Exhibit binders delivered to all parties and to the
                                                            May 17, 2022
      Court
 2    Delivery of JERS-compatible digital evidence
                                                            May 17, 2022
      files to the Courtroom Deputy
 3    Trial notices filed with the Court                    May 13, 2022
      Technology readiness meeting (in-person)              May 17, 2022
 4
      FINAL PRETRIAL CONFERENCE                             May 23, 2022
 5                                                          May 23, 2022
      JURY TRIAL
                                                            9:00 AM - RICHLAND
 6
            25. A Waiver of Speedy Trial Rights, accompanied by a Statement of
 7
     Reasons, has been signed and filed by each Defendant. ECF Nos. 105, 112, 113.
 8
     All time from the current trial date of March 14, 2022, to the new trial date of
 9
     May 23, 2022, is EXCLUDED for all Defendants for speedy trial calculations
10
     pursuant to 18 U.S.C. § 3161(h)(7).
11
           26.    All time from the filing of Defendants’ Motion to Continue on
12
     January 24, 2022, to the date of the hearing on February 14, 2022, is excluded
13
     for speedy trial calculations pursuant to 18 U.S.C. § 3161(h)(1)(D).
14
           IT IS SO ORDERED. The Clerk’s Office is directed to enter this Order
15
     and provide copies to all counsel, the U.S. Probation Office, and the U.S. Marshals
16
     Service.
17
           DATED February 16, 2022.
18
                                   s/Mary K. Dimke
19                                MARY K. DIMKE
                           UNITED STATES DISTRICT JUDGE
20



     ORDER - 17
